                                                                               FORM 1
                                                                                                                                                         Page No:    1
                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                            ASSET CASES

 Case No.:                        19-56239                                                                    Trustee Name:                           Mark H. Shapiro
 Case Name:                       JOSEPH DUMOUCHELLE FINE & JEWELLERS, L.L.C.                                 Date Filed (f) or Converted (c):        11/17/2019 (f)
 For the Period Ending:           03/31/2023                                                                  §341(a) Meeting Date:                   02/19/2020
                                                                                                              Claims Bar Date:                        04/27/2020
                              1                                  2                     3                                 4                        5                      6
                     Asset Description                      Petition/              Estimated Net Value              Property                Sales/Funds           Asset Fully
                      (Scheduled and                      Unscheduled             (Value Determined by              Abandoned              Received by the       Administered
                 Unscheduled (u) Property)                   Value                       Trustee,             OA =§ 554(a) abandon.            Estate                (FA)/
                                                                                 Less Liens, Exemptions,                                                         Gross Value of
                                                                                    and Other Costs)                                                            Remaining Assets

 Ref. #
1       Auction proceeds - guns sold                              $762.78                        $762.78                                              $762.78                  FA
        prior to involuntary proceeding
2       Assets seized prepetition by                            $6,468.00                      $6,468.00                                          $6,468.00                    FA
        creditor and delivered to Repocast
        for auction sale. See list attached
        as Exhibit B22
 Asset Notes:      Order Approving Auction Sale of Personal Property entered 2/9/20 [docket no. 74]
3      Assets seized prepetition by                          Unknown                       $5,000.00                                       $2,429.06                     $2,570.94
       creditor and delivered to creditor,
       Gelov. See list attached as Exhibit
       B22a
Asset Notes:     Order Approving Consignment Sale of Personal Property Free and Clear of Liens, Claims, Encumbrances entered [docket no. 277]
4       Assets seized prepetition by                              Unknown                        $1,000.00                                        $1,000.00                    FA
        creditor and secured in storage
        unit in St. Clair Shores, MI. See
        list attached as Exhibit B22b
5       Showcases, lighting, chairs, etc.                         Unknown                            $0.00              OA                              $0.00                  FA
        located in Birmingham retail
        location
 Asset Notes:      Certificate of No Response filed 6/17/20 [docket no. 136]
                   Notice of Abandonment filed 5/27/20 [docket no. 128]
6       Safes (2) located in Birmingham                           Unknown                            $0.00              OA                              $0.00                  FA
        retail location
 Asset Notes:      Certificate of No Response filed 6/17/20 [docket no. 136]
                   Notice of Abandonment filed 5/27/20 [docket no. 128]
7       Domain name and website                                   Unknown                            $0.00                                              $0.00                  FA
        www.josephdumouchelle.com
8       Customer and mailing list                                     $0.00                          $0.00                                              $0.00                  FA
9         Release of claims                        (u)               $7,500.00                   $7,500.00                                        $7,500.00                    FA
Asset Notes:        Corrected Motion to Compromise Claim with East Continental Gems filed 11/25/20 [docket no. 190]
                    Motion to Compromise Claim With East Continental Gems filed 11/18/20 [docket no. 188]
10        Adversary against Zeidman's            (u)      $5,339,286.00                  $5,339,286.00                                                  $0.00       $5,339,286.00
          Jewelry and Loan of Michigan,
          Inc.; Zeidman's Jewelry & Loan
          of Southfield, Inc.; and Zeidman's
          Loan Office, Inc. - adversary case
          no. 21-04023


TOTALS (Excluding unknown value)                                                                                                               Gross Value of Remaining Assets
                                                             $5,354,016.78                  $5,360,016.78                                      $18,159.84           $5,341,856.94



 Major Activities affecting case closing:
    03/29/2023     Order Approving Trustee's Employment of Wesler & Associates CPA PC as Substitute Accountant entered [docket no. 281]

                   Tenative settlement reached in Ziedman's adversary - negotiations on final terms of settlement.
    11/03/2022     Order Approving Consignment Sale of Personal Property Free and Clear of Liens, Claims, Encumbrances entered [docket no. 277]
    02/28/2022     Ex Parte Order Approving Trustee's Employment of Auctioneer entered 2/27/22 [docket no. 244]
    02/24/2022     Motion to Sell Property Free and Clear of Lien under Section 363(f) with all Liens, Claims, and Encumbrances Attaching to the Proceeds of
                   Sale filed [docket no. 241]
                        19-56239-lsg             Doc 286             Filed 04/11/23           Entered 04/11/23 14:26:03                       Page 1 of 8
                                                                            FORM 1
                                                                                                                                                      Page No:   2
                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                         ASSET CASES

Case No.:                    19-56239                                                                       Trustee Name:                          Mark H. Shapiro
Case Name:                   JOSEPH DUMOUCHELLE FINE & JEWELLERS, L.L.C.                                    Date Filed (f) or Converted (c):       11/17/2019 (f)
For the Period Ending:       03/31/2023                                                                     §341(a) Meeting Date:                  02/19/2020
                                                                                                            Claims Bar Date:                       04/27/2020
                         1                                    2                     3                                 4                        5                     6
                  Asset Description                      Petition/              Estimated Net Value              Property                 Sales/Funds         Asset Fully
                   (Scheduled and                      Unscheduled             (Value Determined by              Abandoned               Received by the     Administered
              Unscheduled (u) Property)                   Value                       Trustee,             OA =§ 554(a) abandon.             Estate              (FA)/
                                                                              Less Liens, Exemptions,                                                        Gross Value of
                                                                                 and Other Costs)                                                           Remaining Assets

 02/07/2022     Order Approving Trustee's Employment of Expert Witness, Charles Kuperwasser, entered 2/3/22 [docket no. 238]
 02/12/2021     Order Authorizing Trustee to Compromise Claims entered 2/12/21 [docket no. 220]
                Any recovery in the Litigation shall be divided 62.5% to Ritter and 37.5% to the Bankruptcy Estates (Dery and Shapiro)
                Kim Hillary, Esq. representing Trustee.
 03/01/2020     Liquidation of assets
 01/27/2020     Investigation of assets - schedules to be filed
 01/20/2020     Motion to Conduction Auction Sale of Personal Property filed 1/20/20 [docket no. 47]


Initial Projected Date Of Final Report (TFR):             10/31/2021                                /s/ MARK H. SHAPIRO
Current Projected Date Of Final Report (TFR):             12/31/2023                                MARK H. SHAPIRO




                     19-56239-lsg             Doc 286             Filed 04/11/23           Entered 04/11/23 14:26:03                       Page 2 of 8
                                                                                                                                                 Page No: 1
                                                                            FORM 2
                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                    19-56239                                                                  Trustee Name:                      Mark H. Shapiro
Case Name:                  JOSEPH DUMOUCHELLE FINE & JEWELLERS, L.L.C.                               Bank Name:                         Independent Bank
Primary Taxpayer ID #:      **-***9383                                                                Checking Acct #:                   ******6239
Co-Debtor Taxpayer ID #:                                                                              Account Title:                     Checking Account
For Period Beginning:       04/01/2022                                                                Blanket bond (per case limit):     $2,000,000.00
For Period Ending:          03/31/2023                                                                Separate bond (if applicable):


     1                2                 3                                    4                                           5                6                   7

Transaction      Check /           Paid to/            Description of Transaction                     Uniform          Deposit       Disbursement        Balance
   Date           Ref. #        Received From                                                        Tran Code           $                $


01/28/2020           (1)   SSL Corporation             Turnover of auction proceeds from             1129-000            $762.78               $0.00               $762.78
                                                       sale of guns prior to the filing of the
                                                       Involuntary Petition
03/09/2020           (2)   Repocast.com, Inc.          Auction proceeds per court order              1129-000          $6,063.00               $0.00              $6,825.78
                                                       entered 2/9/20 [docket no. 74]
04/22/2020        3001     Repocast.com                First and Final Application of                3610-000                $0.00         $727.80                $6,097.98
                                                       Auctioneer for Trustee fees per court
                                                       order entered 4/21/20 [docket no.
                                                       109]
04/22/2020        3002     Repocast.com                First and Final Application of                3620-000                $0.00       $2,187.08                $3,910.90
                                                       Auctioneer for Trustee expenses per
                                                       court order entered 4/21/20 [docket
                                                       no. 109]
06/01/2020           (2)   Repocast.Com Inc.           Auction proceeds per court order              1129-000            $405.00               $0.00              $4,315.90
                                                       entered 2/9/20 [docket no. 74]
08/31/2020                 Independent Bank            Account Analysis Charge                       2600-000                $0.00             $6.29              $4,309.61
09/30/2020                 Independent Bank            Account Analysis Charge                       2600-000                $0.00             $6.28              $4,303.33
10/30/2020                 Independent Bank            Account Analysis Charge                       2600-000                $0.00             $6.27              $4,297.06
11/30/2020                 Independent Bank            Account Analysis Charge                       2600-000                $0.00             $6.26              $4,290.80
12/22/2020                 Transfer From:              Transfer from special checking                9999-000          $7,500.00               $0.00          $11,790.80
                           #*******6239                account - Order Approving
                                                       Compromise entered 12/22/20
                                                       [docket no. 201]
12/31/2020                 Independent Bank            Account Analysis Charge                       2600-000                $0.00             $9.53          $11,781.27
01/29/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $17.18          $11,764.09
01/29/2021        3003     Chase Bank                  Safe deposit box annual charge                2990-000                $0.00         $152.00            $11,612.09
02/26/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.94          $11,595.15
03/31/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.90          $11,578.25
04/30/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.88          $11,561.37
05/28/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.85          $11,544.52
06/30/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.83          $11,527.69
07/30/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.81          $11,510.88
08/31/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.78          $11,494.10
09/30/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.76          $11,477.34
10/29/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.73          $11,460.61
11/30/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.71          $11,443.90
12/13/2021        3004     Insurance Partners          Blanket Bond                                  2300-000                $0.00             $7.44          $11,436.46
12/31/2021                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.68          $11,419.78
01/31/2022                 Independent Bank            Account Analysis Charge                       2600-000                $0.00            $16.65          $11,403.13
02/09/2022                 Independent Bank            Transfer Funds                                9999-000                $0.00      $11,403.13                   $0.00




                     19-56239-lsg            Doc 286      Filed 04/11/23                Entered 04/11/23 14:26:03                    Page 3 of 8
                                                                                                 SUBTOTALS         $14,730.78              $14,730.78
                                                                                                                                                      Page No: 2
                                                                             FORM 2
                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       19-56239                                                                   Trustee Name:                         Mark H. Shapiro
Case Name:                     JOSEPH DUMOUCHELLE FINE & JEWELLERS, L.L.C.                                Bank Name:                            Independent Bank
Primary Taxpayer ID #:         **-***9383                                                                 Checking Acct #:                      ******6239
Co-Debtor Taxpayer ID #:                                                                                  Account Title:                        Checking Account
For Period Beginning:          04/01/2022                                                                 Blanket bond (per case limit):        $2,000,000.00
For Period Ending:             03/31/2023                                                                 Separate bond (if applicable):


     1                2                  3                                      4                                             5                 6                  7

Transaction        Check /             Paid to/           Description of Transaction                   Uniform             Deposit         Disbursement         Balance
   Date             Ref. #          Received From                                                     Tran Code              $                  $



                                                TOTALS:                                                                    $14,730.78         $14,730.78                  $0.00
                                                    Less: Bank transfers/CDs                                                $7,500.00         $11,403.13
                                                Subtotal                                                                    $7,230.78          $3,327.65
                                                    Less: Payments to debtors                                                   $0.00              $0.00
                                                Net                                                                         $7,230.78          $3,327.65




For the period of 04/01/2022 to 03/31/2023                             For the entire history of the account between 01/28/2020 to 3/31/2023

Total Compensable Receipts:                                $0.00      Total Compensable Receipts:                                       $7,230.78
Total Non-Compensable Receipts:                            $0.00      Total Non-Compensable Receipts:                                       $0.00
Total Comp/Non Comp Receipts:                              $0.00      Total Comp/Non Comp Receipts:                                     $7,230.78
Total Internal/Transfer Receipts:                          $0.00      Total Internal/Transfer Receipts:                                 $7,500.00


Total Compensable Disbursements:                           $0.00      Total Compensable Disbursements:                                $3,327.65
Total Non-Compensable Disbursements:                       $0.00      Total Non-Compensable Disbursements                                 $0.00
Total Comp/Non Comp Disbursements:                         $0.00      Total Comp/Non Comp Disbursements                               $3,327.65
Total Internal/Transfer Disbursements:                     $0.00      Total Internal/Transfer Disbursements:                         $11,403.13




                     19-56239-lsg             Doc 286        Filed 04/11/23            Entered 04/11/23 14:26:03                           Page 4 of 8
                                                                                                                                                         Page No: 3
                                                                               FORM 2
                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       19-56239                                                                     Trustee Name:                          Mark H. Shapiro
Case Name:                     JOSEPH DUMOUCHELLE FINE & JEWELLERS, L.L.C.                                  Bank Name:                             Independent Bank
Primary Taxpayer ID #:         **-***9383                                                                   Checking Acct #:                       ******6239
Co-Debtor Taxpayer ID #:                                                                                    Account Title:                         Special Account
For Period Beginning:          04/01/2022                                                                   Blanket bond (per case limit):         $2,000,000.00
For Period Ending:             03/31/2023                                                                   Separate bond (if applicable):


     1                2                  3                                      4                                              5                   6                  7

Transaction        Check /             Paid to/             Description of Transaction                  Uniform              Deposit          Disbursement         Balance
   Date             Ref. #          Received From                                                      Tran Code               $                   $


11/05/2020           (9)     East Continental Gems Inc     Payment per Order Granting                  1249-000              $7,500.00                 $0.00              $7,500.00
                                                           Corrected Motion to Compromise
                                                           Claim with East Continental Gems
                                                           entered 12/22/20 [docket no. 201]
12/22/2020                   Transfer To:                  Transfer to checking account - Order        9999-000                    $0.00          $7,500.00                  $0.00
                             #*******6239                  Approving Compromise entered
                                                           12/22/20 [docket no. 201]

                                                TOTALS:                                                                      $7,500.00            $7,500.00                   $0.00
                                                    Less: Bank transfers/CDs                                                     $0.00            $7,500.00
                                                Subtotal                                                                     $7,500.00                $0.00
                                                    Less: Payments to debtors                                                    $0.00                $0.00
                                                Net                                                                          $7,500.00                $0.00




For the period of 04/01/2022 to 03/31/2023                               For the entire history of the account between 11/04/2020 to 3/31/2023

Total Compensable Receipts:                                 $0.00       Total Compensable Receipts:                                        $7,500.00
Total Non-Compensable Receipts:                             $0.00       Total Non-Compensable Receipts:                                        $0.00
Total Comp/Non Comp Receipts:                               $0.00       Total Comp/Non Comp Receipts:                                      $7,500.00
Total Internal/Transfer Receipts:                           $0.00       Total Internal/Transfer Receipts:                                      $0.00


Total Compensable Disbursements:                            $0.00       Total Compensable Disbursements:                                       $0.00
Total Non-Compensable Disbursements:                        $0.00       Total Non-Compensable Disbursements                                    $0.00
Total Comp/Non Comp Disbursements:                          $0.00       Total Comp/Non Comp Disbursements                                      $0.00
Total Internal/Transfer Disbursements:                      $0.00       Total Internal/Transfer Disbursements:                             $7,500.00




                     19-56239-lsg             Doc 286         Filed 04/11/23             Entered 04/11/23 14:26:03                            Page 5 of 8
                                                                                                                                               Page No: 4
                                                                           FORM 2
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                    19-56239                                                               Trustee Name:                       Mark H. Shapiro
Case Name:                  JOSEPH DUMOUCHELLE FINE & JEWELLERS, L.L.C.                            Bank Name:                          Pinnacle Bank
Primary Taxpayer ID #:      **-***9383                                                             Checking Acct #:                    ******0012
Co-Debtor Taxpayer ID #:                                                                           Account Title:                      DDA
For Period Beginning:       04/01/2022                                                             Blanket bond (per case limit):      $2,000,000.00
For Period Ending:          03/31/2023                                                             Separate bond (if applicable):


     1                2                3                                    4                                          5                6                   7

Transaction      Check /           Paid to/             Description of Transaction                 Uniform          Deposit        Disbursement         Balance
   Date           Ref. #        Received From                                                     Tran Code           $                 $


02/09/2022                 Pinnacle Bank               Transfer Funds                             9999-000          $11,403.13               $0.00          $11,403.13
03/10/2022        6001     Charles Kupperwasser        Retainer for Expert Witness per            3731-000                 $0.00       $1,500.00                $9,903.13
                                                       court order entered 2/3/22 [docket
                                                       no. 238]
03/31/2022                 Pinnacle Bank               Service Charge                             2600-000                 $0.00            $16.30              $9,886.83
04/18/2022                 R.J. Montgomery             Order Approving in Part, and                  *               $3,129.06               $0.00          $13,015.89
                           Associates                  Denying in Part, Auction Sale of
                                                       Personal Property Free and Clear of
                                                       Liens, Claims, and Emcumbrances
                                                       with All Liens, Claims, and
                                                       Encumbrances Attaching to the
                                                       proceeds of Sale entered 4/12/22
                                                       [doc 261]
                     {4}                               Assets from storage unit       $1,000.00   1129-000                                                      $13,015.89
                                                       that were sold in
                                                       auction
                     {3}                               Assets turned over by          $2,129.06   1129-000                                                      $13,015.89
                                                       creditor that were sold
                                                       in auction
04/29/2022                 Pinnacle Bank               Service Charge                             2600-000                 $0.00            $16.25          $12,999.64
05/31/2022                 Pinnacle Bank               Service Charge                             2600-000                 $0.00            $19.32          $12,980.32
06/01/2022        6002     R. J. Montgomery and        First and Final Fee Application of         3610-000                 $0.00         $408.14            $12,572.18
                           Associates, Inc.            Auctioneer for Trustee fee per court
                                                       order entered 5/31/22 [docket no.
                                                       271]
06/01/2022        6003     R. J. Montgomery and        First and Final Fee Application of         3620-000                 $0.00       $3,500.00                $9,072.18
                           Associates, Inc.            Auctioneer for Trustee expenses per
                                                       court order entered 5/31/22 [docket
                                                       no. 271]
06/30/2022                 Pinnacle Bank               Service Charge                             2600-000                 $0.00            $14.36              $9,057.82
07/29/2022                 Pinnacle Bank               Service Charge                             2600-000                 $0.00            $13.46              $9,044.36
08/31/2022                 Pinnacle Bank               Service Charge                             2600-000                 $0.00            $13.44              $9,030.92
09/30/2022                 Pinnacle Bank               Service Charge                             2600-000                 $0.00            $12.99              $9,017.93
10/31/2022                 Pinnacle Bank               Service Charge                             2600-000                 $0.00            $12.97              $9,004.96
11/30/2022                 Pinnacle Bank               Service Charge                             2600-000                 $0.00            $12.95              $8,992.01
12/30/2022                 Pinnacle Bank               Service Charge                             2600-000                 $0.00            $13.36              $8,978.65
01/05/2023        6004     Insurance Partners          2022 - 2023 Bond Allocation                2300-000                 $0.00             $7.75              $8,970.90
01/24/2023           (3)   Frederick Jewelers Inc.     Proceeds of sale of #813 - Colorful        1129-000            $300.00                $0.00              $9,270.90
                                                       pearl bracelet and y.g. per court
                                                       order entered 11/3/2022 [docket no.
                                                       277]




                     19-56239-lsg            Doc 286      Filed 04/11/23              Entered 04/11/23 14:26:03                    Page 6 of 8
                                                                                              SUBTOTALS         $14,832.19                  $5,561.29
                                                                                                                                                      Page No: 5
                                                                             FORM 2
                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       19-56239                                                                   Trustee Name:                         Mark H. Shapiro
Case Name:                     JOSEPH DUMOUCHELLE FINE & JEWELLERS, L.L.C.                                Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:         **-***9383                                                                 Checking Acct #:                      ******0012
Co-Debtor Taxpayer ID #:                                                                                  Account Title:                        DDA
For Period Beginning:          04/01/2022                                                                 Blanket bond (per case limit):        $2,000,000.00
For Period Ending:             03/31/2023                                                                 Separate bond (if applicable):


     1                2                  3                                      4                                             5                 6                  7

Transaction        Check /             Paid to/           Description of Transaction                   Uniform             Deposit         Disbursement         Balance
   Date             Ref. #          Received From                                                     Tran Code              $                  $



                                                TOTALS:                                                                    $14,832.19          $5,561.29               $9,270.90
                                                    Less: Bank transfers/CDs                                               $11,403.13              $0.00
                                                Subtotal                                                                    $3,429.06          $5,561.29
                                                    Less: Payments to debtors                                                   $0.00              $0.00
                                                Net                                                                         $3,429.06          $5,561.29




For the period of 04/01/2022 to 03/31/2023                             For the entire history of the account between 02/09/2022 to 3/31/2023

Total Compensable Receipts:                            $3,429.06      Total Compensable Receipts:                                       $3,429.06
Total Non-Compensable Receipts:                            $0.00      Total Non-Compensable Receipts:                                       $0.00
Total Comp/Non Comp Receipts:                          $3,429.06      Total Comp/Non Comp Receipts:                                   $3,429.06
Total Internal/Transfer Receipts:                          $0.00      Total Internal/Transfer Receipts:                              $11,403.13


Total Compensable Disbursements:                       $4,044.99      Total Compensable Disbursements:                                  $5,561.29
Total Non-Compensable Disbursements:                       $0.00      Total Non-Compensable Disbursements                                   $0.00
Total Comp/Non Comp Disbursements:                     $4,044.99      Total Comp/Non Comp Disbursements                                 $5,561.29
Total Internal/Transfer Disbursements:                     $0.00      Total Internal/Transfer Disbursements:                                $0.00




                     19-56239-lsg             Doc 286        Filed 04/11/23            Entered 04/11/23 14:26:03                           Page 7 of 8
                                                                                                                                                  Page No: 6
                                                                           FORM 2
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       19-56239                                                                 Trustee Name:                       Mark H. Shapiro
Case Name:                     JOSEPH DUMOUCHELLE FINE & JEWELLERS, L.L.C.                              Bank Name:                          Pinnacle Bank
Primary Taxpayer ID #:         **-***9383                                                               Checking Acct #:                    ******0012
Co-Debtor Taxpayer ID #:                                                                                Account Title:                      DDA
For Period Beginning:          04/01/2022                                                               Blanket bond (per case limit):      $2,000,000.00
For Period Ending:             03/31/2023                                                               Separate bond (if applicable):


     1                2                  3                                 4                                               5                6                  7

Transaction        Check /             Paid to/         Description of Transaction                  Uniform              Deposit       Disbursement         Balance
   Date             Ref. #          Received From                                                  Tran Code               $                $



                                                                                                                             NET               NET              ACCOUNT
                                                     TOTAL - ALL ACCOUNTS                                                DEPOSITS         DISBURSE             BALANCES

                                                                                                                      $18,159.84          $8,888.94                $9,270.90




For the period of 04/01/2022 to 03/31/2023                          For the entire history of the account between 02/09/2022 to 3/31/2023

Total Compensable Receipts:                         $3,429.06       Total Compensable Receipts:                                    $18,159.84
Total Non-Compensable Receipts:                         $0.00       Total Non-Compensable Receipts:                                     $0.00
Total Comp/Non Comp Receipts:                       $3,429.06       Total Comp/Non Comp Receipts:                                  $18,159.84
Total Internal/Transfer Receipts:                       $0.00       Total Internal/Transfer Receipts:                              $18,903.13


Total Compensable Disbursements:                    $4,044.99       Total Compensable Disbursements:                                $8,888.94
Total Non-Compensable Disbursements:                    $0.00       Total Non-Compensable Disbursements:                                $0.00
Total Comp/Non Comp Disbursements:                  $4,044.99       Total Comp/Non Comp Disbursements:                              $8,888.94
Total Internal/Transfer Disbursements:                  $0.00       Total Internal/Transfer Disbursements:                         $18,903.13




                                                                                               /s/ MARK H. SHAPIRO
                                                                                               MARK H. SHAPIRO




                     19-56239-lsg             Doc 286     Filed 04/11/23             Entered 04/11/23 14:26:03                         Page 8 of 8
